Case 2:20-cv-06059-VAP-E   Document 17-1   Filed 09/08/20   Page 1 of 8 Page ID
                                   #:223




                       EXHIBIT A
     Case 2:20-cv-06059-VAP-E   Document 17-1    Filed 09/08/20   Page 2 of 8 Page ID
                                        #:224


 1                          UNITED STATES DISTRICT COURT
 2                        CENTRAL DISTRICT OF CALIFORNIA
 3                                   WESTERN DIVISION
 4 DAWAUN LUCAS, et al., individually           Case No. 2:20-cv-06059-VAP-E
   and on behalf of all others similarly
 5                                              DECLARATION OF JUSTIN SKINNER
   situated,                                    IN SUPPORT OF MOTION TO
 6                                              COMPEL ARBITRATION OF
                            Plaintiff,          PLAINTIFFS’ INDIVIDUAL CLAIMS
 7                                              AND STAY THE CASE
          v.
 8                                              Judge: Honorable Virginia A. Phillips
   SMILEDIRECTCLUB, INC. and
 9 SMILEDIRECTCLUB, LLC,

10
                            Defendants.
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                          DECLARATION OF JUSTIN SKINNER
     Case 2:20-cv-06059-VAP-E      Document 17-1        Filed 09/08/20   Page 3 of 8 Page ID
                                           #:225


 1         I, Justin Skinner, declare, under penalty of perjury, that I am of legal age and sound
 2   mind and, based upon personal knowledge, due investigation and review of records kept in
 3   the ordinary course of business, that the following facts are true and correct.
 4         1.     I am the Chief Technology Officer at SmileDirectClub, LLC (“SDC, LLC”).
 5   I have held this position since December 2018.
 6         2.     I have reviewed and am familiar with the Complaint in the action entitled
 7   Lucas, et al. v. SmileDirectClub, Inc., et al., No. 2:20-cv-06059 (the “Complaint”).
 8         3.     In my position as CTO, I have personal knowledge of the SmileDirectClub
 9   account creation process and the data reflecting the account creation and history of the
10   plaintiffs identified in the Complaint: Dawaun Lucas, David Dominguez Hooper, Mete
11   Tasin and Reejaunte Smith.
12         4.     I have reviewed each Plaintiff’s file and have provided below the information
13   and screenshots derived from code and data maintained in the regular course of business.
14   The screenshots identified below are true and accurate representations of the online
15   registration process and were obtained at my direction from SDC, LLC’s internal databases.
16   I.    The Account Creation Process
17         5.     A consumer must first go through SDC, LLC’s registration process before they
18   can become a SmileDirectClub customer and take advantage of SDC, LLC’s clear aligner
19   therapy services.
20         6.     To begin the registration process, they must first create a SmileDirectClub
21   account with SDC, LLC.
22         7.     Customers can create an account directly through the SmileDirectClub website
23   (at www.smiledirectclub.com) or during an in-person visit to a SmileShop location where
24   they are required to complete the same online process
25         8.     During the online registration process at the time Plaintiffs Lucas and Tasin
26   registered, customers were presented with the following screen:
27

28
                                                    1
                                                                 DECLARATION OF JUSTIN SKINNER
     Case 2:20-cv-06059-VAP-E      Document 17-1        Filed 09/08/20   Page 4 of 8 Page ID
                                           #:226


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14         9.     Customers--including Plaintiffs Lucas and Tasin--were required to check
15   affirmatively the checkbox to agree to the Informed Consent Agreement. An image of the
16   checkbox from the registration page is below for reference:
17

18

19         10.    During the online registration process at the time Plaintiffs Hooper and Smith
20   registered, the screen presented to customers was materially identical. However, as a result
21   of a technical issue, the checkbox presented to Plaintiffs Hooper and Smith may have been
22   pre-checked by default.
23         11.    There was one additional minor variation in the above language that was in
24   effect at the time Plaintiff Smith registered. Specifically, the language next to the checkbox
25   (pictured in Paragraph 8, above) read “Informed Consent and Terms of Use” instead of
26   “Informed Consent and Terms & SmilePay Conditions.”
27

28
                                                    2
                                                                 DECLARATION OF JUSTIN SKINNER
     Case 2:20-cv-06059-VAP-E      Document 17-1         Filed 09/08/20   Page 5 of 8 Page ID
                                           #:227


 1         12.    To proceed with the account creation, the box next to the Informed Consent
 2   Agreement link must either have been checked or left checked.
 3         13.    The Informed Consent Agreement is presented to users as a hyperlink that,
 4   when clicked, takes the user to another screen that displays the full text of the agreement.
 5   Customers have the option to read, review and even print the agreement before checking or
 6   leaving checked the box.
 7         14.    A true and correct copy of the Informed Consent Agreement in effect at the
 8   time that Plaintiffs Lucas registered is attached hereto as Exhibit 1. The section entitled
 9   “Agreement to Arbitrate” is on Page 5.
10         15.    A true and correct copy of the Informed Consent Agreement in effect at the
11   time that Plaintiff Tasin registered is attached hereto as Exhibit 2. The section entitled
12   “Agreement to Arbitrate” is on Page 5.
13         16.    A true and correct copy of the Informed Consent Agreement in effect at the
14   time that Plaintiffs Hooper registered is attached hereto as Exhibit 3. The section entitled
15   “Agreement to Arbitrate” is on Page 3.
16         17.    A true and correct copy of the Informed Consent Agreement in effect at the
17   time that Plaintiff Smith registered is attached hereto as Exhibit 4. The section entitled
18   “Agreement to Arbitrate” is on Page 3.
19         18.    After filling out the registration screen, each Plaintiff had to then select “Finish
20   My Account” to proceed with and conclude the registration.
21   II.   Plaintiffs’ Respective Accounts, Orders and Text Messages.
22         19.    On November 14, 2019 Plaintiff Lucas created a SmileDirectClub account
23   online and scheduled an appointment at a retail location, known as a SmileShop.
24         20.    On June 19, 2018, Plaintiff Hooper created a SmileDirectClub account online
25   and scheduled an appointment at a SmileShop.
26         21.    On December 7, 2019, Plaintiff Tasin created a SmileDirectClub account and
27   scheduled an appointment at a SmileShop. At the same time, Plaintiff Tasin also ordered a
28
                                                     3
                                                                  DECLARATION OF JUSTIN SKINNER
     Case 2:20-cv-06059-VAP-E       Document 17-1        Filed 09/08/20   Page 6 of 8 Page ID
                                            #:228


 1   doctor-prescribed impression evaluation measurement kit to have his viability for clear
 2   aligner therapy treatment evaluated by a dentist or orthodontist, rather than going into a
 3   SmileShop. The kit was sent to him, but he attended his appointment instead.
 4         22.    On January 14, 2018, Plaintiff Smith created a SmileDirectClub account online
 5   and scheduled an appointment at a SmileShop.
 6         23.    SDC, LLC maintains an electronic file for each customer, including each
 7   customers’ assent to the Informed Consent Agreement upon clicking “Finish My Account.”
 8   These electronic files are maintained in UTC time (Coordinated Universal Time), which is
 9   7 hours ahead of Pacific Time.
10         24.    Plaintiff Lucas checked the box to the above-mentioned terms and clicked
11   “Finish My Account” on November 14, 2019 at 7:24PM, UTC.
12         25.    Plaintiff Tasin checked the box to agree to the above terms and clicked “Finish
13   My Account” on December 7, 2019 at 2:03AM, UTC.
14         26.    Plaintiff Hooper checked or left checked the box and agreed to the above terms
15   and clicked “Finish My Account” on June 19, 2018 at 3:09AM, UTC.
16         27.    Plaintiff Smith checked or left checked the box to agree to the above terms and
17   clicked “Finish My Account” on January 14, 2018 at 2:00AM, UTC.
18         28.    On June 20, 2018, November 21, 2019 and December 9, 2019, respectively,
19   Plaintiffs Hooper, Lucas and Tasin visited local SmileShop locations, where they provided
20   further information about their dental histories and chief complaints and learned about the
21   teledentistry platform that SDC, LLC enables for the provision of clear aligner therapy by
22   state licensed dentists and orthodontists to their patients.
23         29.    Plaintiffs Hooper’s, Lucas’s and Tasin’s information and draft treatment plans
24   were sent to a dentist or orthodontist licensed to practice dentistry in the state of their
25   residence for assessment, diagnosis and, if appropriate, treatment. Their aligner treatment
26   plans were thereafter approved by their respective treating dentist or orthodontist whose
27

28
                                                     4
                                                                  DECLARATION OF JUSTIN SKINNER
     Case 2:20-cv-06059-VAP-E      Document 17-1        Filed 09/08/20   Page 7 of 8 Page ID
                                           #:229


 1   affiliated professional dental corporation had engaged SDC, LLC to use its dental support
 2   organization services and teledentistry platform.
 3           30.   Plaintiff Lucas’s aligner treatment plan was approved by his treating dentist or
 4   orthodontist on November 22, 2019, Plaintiff Hooper’s plan was approved by his treating
 5   dentist or orthodontist on June 20, 2018 and Plaintiff Tasin’s plan was approved by his
 6   treating dentist or orthodontist on December 13, 2019.
 7           31.   Plaintiff Smith scheduled an appointment at a SmileShop for January 6, 2018,
 8   but on January 14, 2018 instead requested a doctor-prescribed impression evaluation
 9   measurement kit to have his viability for treatment evaluated by a dentist or orthodontist,
10   rather than going into a SmileShop location. The kit was sent to him on or about January
11   15, 2018.
12           32.   Plaintiffs Hooper, Lucas and Tasin did not complete the payment process for
13   their treatment plans to finalize their orders receive their aligners. Accordingly, they were
14   each sent text messages by SDC, LLC concerning their orders (i.e., their Smile Plans, which
15   are SmileDirectClub’s dentist or orthodontist-approved treatment plans, which are
16   customized treatment plans that have been reviewed and approved by the dentist or
17   orthodontist who is responsible for overseeing their diagnosis and treatment), existing
18   appointments, completing their aligner purchases and booking new appointments when
19   their Smile Plans expired without completing the order.
20           33.   Smile Plans reflect dentist or orthodontist-approved treatment based on a
21   specific dental scan or impression, are only valid for 6 months, after which a new scan or
22   impression would need to be conducted in order for a dentist or orthodontist to approve a
23   more updated treatment plan.
24           34.   Plaintiff Lucas was sent text messages pertaining to (i) his appointment and
25   completing his scan, (ii) the status of his treatment plan, (iv) his Smile Plan and completing
26   his purchase and (iii) booking a new appointment following the expiration of his Smile
27   Plan.
28
                                                    5
                                                                 DECLARATION OF JUSTIN SKINNER
Case 2:20-cv-06059-VAP-E   Document 17-1   Filed 09/08/20   Page 8 of 8 Page ID
                                   #:230
